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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

REGINA GILLMORE HESINGTON CIVIL ACTION

Plaintiff

 

VS.

INC.

ACADEMY COLLECTION SERVICES, | NO. 08-4716
Defendant |

 

STIPULATION OF DISMISSAL
AND NOW, this 22™ day of January, 2009, it is hereby Stipulated and Agreed by
and between counsel for plaintiff and counsel for defendant in the above captioned matter

that the above captioned matter be dismissed with prejudice.

Warren & Vullings. LLP

BY:__/s/ Bruce K. Warren
Bruce K. Warren, Esquire
Attorney for Plaintiff

Marshall Dennehey Warner Coleman & Goggin

  

BY:

 

Dean H. Malik, Esquire
Attorney for Defendant

APPBOVED BYyvTHE COURT:

 

panei Ln J.

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